
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/supreme/a_75_15.pdf) could not be found on this server.
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/attorneys/assets/opinions/supreme/a_65_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_70_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_71_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_72_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_73_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/A_35_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_74_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_95_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_76_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_77_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_79_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_85_15.pdf (mistyped character)


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